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    UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


    EDGAR BALTAZAR GARCIA,                           §
                                                     §
                    Movant,                          §
                                                     §
    versus                                           §   NO. 1:09-CR-00015-MAC-KFG
                                                     §
    UNITED STATES OF AMERICA,                        §
                                                     §
                    Respondent.                      §
.
                ORDER APPOINTING COUNSEL PURSUANT TO 18 U.S.C. § 3599

             Movant Edgar Baltazar Garcia has moved the court for appointment of counsel pursuant to

    18 U.S.C. § 3599. After considering said Motion, the court is of the opinion that said Motion should

    be, and hereby is, GRANTED. Ms. Christine Lehmann and Mr. Jason Hawkins, Federal Public

    Defender for the Northern District of Texas, are appointed as co-counsel to assist in the

    representation of Mr. Garcia.



                   SIGNED this the 20th day of December, 2013.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE
